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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
              v.                         )         S1-4:07 CR 175 JCH
                                         )                        DDN
MICHAEL SHANAHAN, SR.,                   )
MICHAEL SHANAHAN, JR., and               )
GARY C. GERHARDT,                        )
                                         )
                     Defendants.         )

                             MEMORANDUM AND ORDER
        This action is before the court upon the motions of non-parties
Thompson Coburn LLP (Doc. 179), DRS Technologies, Inc. (DRS) (Doc. 181),
and Pricewaterhouse Coopers LLP (PwC) (Doc. 183) to quash defendants’
Rule 17(c) subpoenas.      On March 3, 2008, after ruling the government’s
objections, the court granted the joint motions of defendants to serve
Rule 17(c) subpoenas on the three non-parties listed above.          (Doc. 175);
United States v. Shanahan, No. S1-4:07 CR 175 JCH, 2008 WL 619213, at
*6 (E.D. Mo. March 3, 2008).           The non-parties move to quash these
subpoenas. 1       The government    does not raise any objections to the
subpoenas.
        On April 29, 2008, the court held a hearing on the motion to quash
the Rule 17(c) subpoenas.         After the hearing, the defendants were able
to reach an agreement with non-parties PwC and Thompson Coburn.             (Doc.
213.)       According to the agreement, there are no longer any issues in
dispute.      The motions of non-parties PwC and Thompson Coburn to quash
defendants’ Rule 17(c) subpoenas are therefore denied as moot.
        The defendants were unable to reach a complete agreement with DRS
concerning the motion to quash.              Request 1, Request 5, Request 8,
Request 9, Request 12, and Request 13 remain in dispute.           (Doc. 215.)


        1
      Thompson Coburn, DRS, and PwC were not parties to the original
motions to serve subpoenas and did not have an opportunity to challenge
these subpoenas.   They are therefore not estopped from bringing the
current motions to quash. See United States v. Reyes , 239 F.R.D. 591,
595 (N.D. Cal. 2006) (anticipating motions to quash from subpoenaed
third-parties).
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Rule 17(c) Standard
      Rule 17(c) of the Federal Rules of Criminal Procedure provides that
a   “subpoena   may    order    the    witness   to   produce   any    books,   papers,
documents, data, or other objects the subpoena designates.                  The court
may direct the witness to produce the designated items in court before
trial or before they are to be offered in evidence.”                  Fed. R. Crim. P.
17(c)(1).    The scope of Rule 17(c) is more narrow than the corresponding
rules of civil procedure, which permit broad discovery.                    Reyes, 239
F.R.D. at 597.        Rule 17(c) was not intended to serve as a discovery
device for criminal cases.            United States v. Nixon, 418 U.S. 683, 698
(1974); United States v. Bueno, 443 F.3d 1017, 1026 (8th Cir. 2006).
Instead, Rule 17(c) seeks to expedite a trial by providing a time and
place before trial for the inspection of subpoenaed materials.                   Id. at
698-99.     In complex criminal cases, the Supreme Court has noted the
utility of using Rule 17(c).            See id. at 699 n.11.       To gain access to
the desired documents, the moving party must show that the subpoenaed
documents are: (1) relevant; (2) admissible; and (3) identified or
described with adequate specificity.              Id. at 700; United States v.
Hardy, 224 F.3d 752, 755 (8th Cir. 2000).
      Of these three requirements, “[s]pecificity is the hurdle on which
many subpoena requests stumble.”             United States v. Ruedlinger, 172
F.R.D. 453, 456 (D. Kan. 1997).          A request will usually be sufficiently
specific where it limits documents to a reasonable period of time and
states with reasonable precision the subjects to which the documents
relate.     United States v. RW Prof’l Leasing Servs. Corp. , 228 F.R.D.
158, 162 (E.D.N.Y. 2005).         As the period of time increases, so must the
subpoena’s particularity.         Application of Linen Supply Cos., 15 F.R.D.
115, 118 (S.D.N.Y. 1953).              “If the moving party cannot reasonably
specify the information contained or believed to be contained in the
documents sought but merely hopes that something useful will turn up,
this is a sure sign that the subpoena is being misused.”                 United States
v. Noriega, 764 F. Supp. 1480, 1493 (S.D. Fla. 1991).                  The specificity
and relevance requirements demand more than the title of a document and
conjecture concerning its contents.               Hardy, 224 F.3d at 755.           The
specificity requirement ensures that a Rule 17(c) subpoena will not be


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used just to see “what may turn up.”         United States v. Libby, 432 F.
Supp. 2d 26, 32 (D.D.C. 2006).      The specificity requirement also ensures
that a subpoena will only be used to secure, for trial, a sharply
defined group of documents.      Ruedlinger, 172 F.R.D. at 456.
        Even   when the moving party has shown that a subpoena seeks
relevant, admissible, and specific evidence, a court must still consider
other factors, including whether: (1) the materials could be procured
through other means, before trial, by the exercise of due diligence; (2)
the party cannot adequately prepare for trial without advance production
of the documents, and the failure to obtain the documents may tend to
unreasonably delay the trial; and (3) the request for the materials is
made in good faith and not as a general “fishing expedition.”                See
Nixon, 418 U.S. at 699-700.     A court may quash or modify a subpoena for
the   production    of documents,   if producing   the   documents     would be
unreasonable or oppressive, or if the subpoena calls for privileged
matter.    Fed. R. Crim. P. 17(c)(2); Reyes, 239 F.R.D. at 598.


Subpoena to DRS Technologies, Inc.
        The defendants seek fourteen sets of documents from DRS.          (Doc.
181, Ex. A.)       After the hearing, the defendants agreed to withdraw a
number of these requests.     Only Request 1, Request 5, Request 8, Request
9, Request 12, and Request 13 remain in dispute.         (Doc. 215.)
        DRS objects   to each of these requests, arguing the subpoena
violates Rule 17(c) and must be quashed in its entirety.        In particular,
DRS argues the subpoena requests lack specificity, are overly broad, and
seek privileged documents.     DRS also argues the documents requested can
be obtained by other means, and that the subpoena should be directed to
Engineered Support Systems, Inc. (ESSI) and not DRS.             Finally, DRS
argues the subpoena requests are unreasonable and oppressive.             (Doc.
182.)
        The defendants dispute each of these arguments.      (Doc. 188.)


Request 1
        The defendants’ first request seeks the following:



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     Copies of any and all documents relating to ESSI stock
     options, including but not limited to:
     a.   documents referring to or relating to the granting,
          awarding, issuance, re-issuance, cancellation, or
          allocation of ESSI stock options;

     b.    documents      relating   to   the   receipt   of   ESSI   stock
           options;

     c.    documents referring to or relating to the creation,
           review, or revision of any letter, certificate, or
           other document regarding ESSI’s stock option grants;

     d.    documents referring to or relating to the measurement
           date, grant date, or issuance date of any ESSI stock
           options;

     e.    documents referring to or relating to the pricing, re-
           pricing, strike price, or value of any ESSI stock
           options;

     f.    documents referring to or            relating to accounting
           concerning   stock  options          and  financial records
           concerning stock options;

     g.    documents concerning public statements, SEC filings, or
           other reports concerning ESSI stock options;

     h.    documents constituting or relating to ESSI stock option
           plans and draft stock option plans, including the
           review and approval of such plans;

     i.    documents providing the basis for awarding, granting,
           or pricing of ESSI stock options; and

     j.    documents relating to or referring to legal advice
           concerning ESSI stock options.
(Doc. 181, Ex. A at 6-7.)
     In addition to its general arguments to quash, DRS argues that this
request does not identify any specific documents that are relevant and
admissible.   DRS also notes that it has already provided the government
with documents that were relevant to ESSI stock option grants from 1996
to 2005.   (Doc. 182 at 13.)
     As a general rule, requests for “any and all documents” are
emblematic of a discovery request or of a fishing expedition.             Libby,
432 F. Supp. 2d at 32; United States v. Louis, No. 04 CR 203 (LTS), 2005
WL 180885, at *5 (S.D.N.Y. Jan. 27, 2005); United States v. Jackson, 155


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F.R.D. 664, 668 (D. Kan. 1994).         Subpoenas should not be worded in non-
exclusive and open-ended terms.            United States v. Jenks, 517 F. Supp.
305, 307 (S.D. Ohio 1981).         Subpoenas must do more than request a broad
array and a large number of documents.             Jackson, 155 F.R.D. at 668.
Instead, the defendant must seek access to a discrete document or a
discrete set of existing written materials.           Reyes, 239 F.R.D. at 599.
     The defendants’ first request and its subparts fail to ask for
discrete sets of documents.         See Jackson, 155 F.R.D. at 668 (employing
terms like “‘any and all documents’ or ‘including, but not limited to’
[are] indicia of a fishing expedition.”)              Instead, each subpart is
worded     in   general   terms,    with    several   subcategories    requesting
“documents referring to or relating to” the documents requested.            See RW
Prof’l Leasing Servs. , 228 F.R.D. at 164 (finding request for “all
documents relating or referring to” could amount to a massive search for
countless documents).      In their response, the defendants dispute DRS’s
arguments; they do not reasonably specify the information contained or
believed to be contained in the stock option documents.               See Noriega,
764 F. Supp. at 1493.
     In Reyes, the court found that a request for “the production of any
and all information related to stock options” issued over a five-year
period, involving a multi-million dollar company with thousands of
employees, was enormous in scope, and represented the quintessential
fishing expedition.       Reyes, 239 F.R.D. at 605-06.        In this case, the
defendants’ first request seeks “any and all documents relating to ESSI
stock options” issued over a ten-year period, involving a multi-million
dollar company.
     Looking to the cases cited above, the motion to quash Request 1 is
granted.


Request 5
     The defendants’ fifth request seeks “[c]opies of any and all
documents referring to or relating to any analysis, review, [or] audit
[] that related to ESSI’s stock options, including but not limited to
those conducted by PwC, Thompson Coburn, Landmann, or any other person
or entity.”     (Doc. 181, Ex. A at 8.)


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        DRS argues    that this request      does not identify          any specific
documents.      DRS also argues that if documents relating to this request
existed, they would have already been provided to the government, and
are otherwise procurable.            DRS notes that it is not aware of any
analysis of ESSI stock options prepared by PwC, Thompson Coburn, or
Landmann after DRS’s acquisition of ESSI.            (Doc. 182 at 16.)
        The    defendants’   fifth    request      fails   to   satisfy    the   Nixon
requirements.      In Ruedlinger, for example, the defendant sought “any and
all audit reports prepared by the Internal Revenue Service pertaining
to DRI (Doug Ruedlinger, Inc.) and/or Wheatland Group Holdings, Inc.
[the defendant’s companies] during the 1990's time period.” Ruedlinger,
172 F.R.D. at 455 (emphasis added).         In quashing the subpoena, the court
found    the    request   failed     the   Nixon    requirements      of   relevancy,
admissibility, and specificity, and was little more than a “fishing
expedition for something potentially useful.”              Id. at 457.
        Defendants' Request 5 uses language broader than that used in
Ruedinger and seeks documents that relate or refer to any audit of
ESSI’s stock options.        The request also seeks documents that relate or
refer to any analysis or review of ESSI’s stock options.                     Like the
request in Ruedlinger, Request 5 covers a ten-year period.                   Finally,
Request 5 seeks documents “including, but not limited to” those that
would have been prepared by DRS, PwC, Thompson Coburn, Landmann, “or any
other person or entity.”           See Libby, 432 F. Supp. 2d at 36, 38-39
(finding “any employee or agent” language was part of the reason the
request represented a fishing expedition); Jackson, 155 F.R.D. at 668
(noting that terms like “‘including, but not limited to’ [are] indicia
of a fishing expedition.”)             Looking       to Ruedlinger, Libby, and
Jackson, the motion to quash Request 5 is granted.


Request 8
        The defendants’ eighth request seeks “[c]opies of ESSI’s Form 10-
Ks, Form 10-Qs, and Proxy Statements during the relevant time period
(and, for DRS, any such documents after DRS’s acquisition of ESSI),
together with drafts and other documents relating to the preparation of
such securities filings.”       (Doc. 181, Ex. A at 8.)


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         DRS argues       that this request         does not identify              any specific
documents.         DRS also argues the SEC filings are publicly available, and
thus otherwise procurable.              Finally, DRS argues the request for drafts
and other documents is overly broad and unduly burdensome, and includes
privileged documents. (Doc. 182 at 18.)
         The defendants’ eighth request, as written, fails to ask for
relevant or a discrete set of documents.                 “Drafts, by their very nature,
rarely satisfy the test of relevance.”                  Grossman v. Schwarz, 125 F.R.D.
376, 385 (S.D.N.Y. 1989).             And absent evidence showing the relevance of
a particular draft, production of draft documents is likely to produce
a wasteful fishing expedition.              Id.     The request for “drafts and other
[related] documents” fails the relevancy requirement.
         However, a court may modify a subpoena for the production of
documents.         Fed. R. Crim. P. 17(c)(2).           The request for ESSI’s Form 10-
Ks, Form 10-Qs, and proxy statements represents a request for a discrete
and specific set of documents.             The superseding indictment alleges that
the defendants caused ESSI to make false statements in filings with the
SEC.     (Doc. 52 at ¶¶ 29-33.)          These SEC filings are therefore relevant
to the allegations charged by the indictment, and would be admissible
at trial as business records.              See Fed. R. Evid. 803(6).                At the same
time, the superseding indictment does not allege that the defendants
caused DRS to make false statements in filings with the SEC.                                     The
request for DRS’s public filings fails to satisfy the Nixon relevancy
requirement.
         Where the defendant shows the subpoena seeks relevant, admissible,
and specific evidence, a court must still consider whether the materials
are otherwise procurable reasonably in advance of trial through due
diligence.         Reyes, 239 F.R.D. at 598 (quoting Nixon, 418 U.S. at 702).
In   this     case,      ESSI’s   SEC   forms    and    proxy       statements     are   readily
available from public sources.                  See In re Rent-Way Sec. Litig., 218
F.R.D. 101, 113 (W.D. Pa. 2003) (noting that SEC forms and proxy
statements are public sources of information).                      In fact, the SEC website
contains the documents requested by the defendants.                       U.S. Securities and
E    x    c    h     a    n   g   e             C   o     m     m    i    s    s    i    o   n     ,
http://www.sec.gov/cgi-bin/src h-edgar?text=%22Engineered%20Support%20


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Systems%22&start=81&count=80&first=1996&last=2006 (providing copies of
ESSI’s SEC filings from 1996 to 2006, including the company’s 10-K and
10-Q Forms) (last visited June 17, 2008).
        At the hearing, the defendants acknowledged that these documents
were publicly available, but noted the value of having the non-parties
produce the documents themselves.          In particular, the defendants argued
that    having    Thompson    Coburn   or PwC      produce    these    documents    would
illustrate that the lawyers and accountants viewed the documents in
question.    In addition, the defendants noted that there could be remarks
or notations on the non-parties’ versions of these documents.                    (Tr. 85-
86.)      Finally,    the    defendants    state    that     the   publicly    available
documents lack the signatures and formatting found only in the hard copy
documents.       (Doc. 224, Ex. A at 10.)       These statements illustrate that
the documents are not otherwise available.
        The motion to quash Request 8 is denied.               DRS Technologies shall
produce copies of ESSI’s Form 10-Ks, Form 10-Qs, and Proxy Statements
during the relevant time period - from January 1, 1996, to August 31,
2006.
        DRS argues that the relevant time period is too broad, and should
be limited to the period from 1996 to 2002, the period covering the
alleged instances of fraudulent backdating.                  In the alternative, DRS
argues the time period should not extend beyond January 31, 2006 - the
date DRS acquired ESSI.        (Doc. 182 at 10.)
        The undersigned disagrees.        The superseding indictment alleges the
defendants       engaged in a scheme to defraud ESSI and DRS, and the
shareholders of both, for the period of 1996 to August 2006.                     (Doc. 52
at ¶ 10.)    As noted in the memorandum opinion, the relevant time period
should track the period corresponding to the events alleged in the
superseding indictment.         See Shanahan, 2008 WL 619213, at *2.


Request 9
        The defendants’ ninth request seeks “[c]opies of any and all
documents referring to or relating to ESSI’s certifications under the
Sarbanes-Oxley Act of 2002 and or compliance with or obligations under
that Act.”       (Doc. 181, Ex. A at 8.)


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       DRS argues   that this request       does not identify        any specific
documents.   In particular, DRS argues that Sarbanes-Oxley imposes a wide
range of reporting requirements, making the defendants’ request far too
broad. DRS also argues the request includes privileged documents. (Doc.
182 at 18-19.)
       Among its requirements, the Sarbanes-Oxley Act requires corporate
officers to certify the company’s financial reports.           15 U.S.C. § 7241;
18 U.S.C. § 1350; In re Hutchinson Tech. Inc. Sec. Litig., 502 F. Supp.
2d 884, 889 n.1 (D. Minn. 2007).          These certifications accompany the
corporation’s Form 10-K and Form 10-Q filings.              See Cent. Laborers’
Pension Fund v. Integrated Elec. Servs. Inc. , 497 F.3d 546, 554 (5th
Cir.   2007);   id. at 889-90.       The SEC website also contains these
certifications.           U.S.    Securities    and       Exchange    Commission,
http://www.sec.gov/Archives/edgar/data/772891/000106880005000407/ex31
p2.txt (certification by Gary Gerhardt of ESSI’s Form 10-Q, dated June
9, 2005) (last visited June 17, 2008).         The certifications themselves
are therefore “otherwise procurable” and not subject to a Rule 17(c)
subpoena. See Nixon, 418 U.S. at 699-700, 702.
       In their request, the defendants seek “any and all documents
referring    to relating    to”   these   certifications.       As   explained in
analyzing Request 1, this language fails to identify a discrete set of
documents and could amount to a massive search for countless documents.
See RW Prof’l Leasing Servs., 228 F.R.D. at 164.             Indeed, the second
half of the request seeks all documents relating to ESSI’s compliance
or obligations under the Sarbanes-Oxley Act - a piece of legislation
consisting of eleven titles and several dozen sections. Sarbanes-Oxley,
Pub. L. No. 107-204, 116 Stat. 745 (2002).        At the hearing, counsel for
PwC estimated that 20,000 pages of documents would relate to this
request.    (Tr. 66.)   The defendants’ request fails to satisfy the Nixon
specificity requirement.
       The motion to quash Request 9 is granted.


Request 12




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     The     defendants’   twelfth    request        seeks   “[a]nalysts’   reports
concerning ESSI and documents relating to or referring to any such
analysts[’] reports.”      (Doc. 181, Ex. A at 9.)
     DRS argues     that this request         does    not identify any specific
documents that are relevant or admissible.             DRS argues that any number
of employees may have obtained these reports at any time, for any number
of reasons.    DRS also argues that it has already produced some of these
reports to the government, and should not have to conduct a burdensome
search for these files.       Finally, DRS argues that these reports are
irrelevant and inadmissible.      (Doc. 182 at 20.)
     In Libby, the court found that a request seeking records from “any
employee” of The New York Times was not sufficiently specific to satisfy
the requirements of Rule 17(c).            Libby, 432 F. Supp. 2d at 36.          In
Ruedlinger, the court found that a request seeking “all audit reports”
for a ten-year period was “little more than a fishing expedition for
something potentially useful.”       Ruedlinger, 172 F.R.D. at 455, 457.          In
this case, the request for analysts’ reports implicates any number of
DRS employees over a ten-year period.          Looking to Libby and Ruedlinger,
the defendants have failed to show Request 12 is sufficiently specific.
     The motion to quash Request 12 is granted.


Request 13
     The defendants’ thirteenth request seeks
     Copies of any and all documents relating to or referring to
     the responsibilities and duties of ESSI individuals holding
     the following positions at ESSI: Chief Executive Officer,
     Chief Operating Officer, Chief Financial Officer, President,
     Vice President, General Counsel, Controller, and Treasurer,
     including Michael Shanahan Sr., G.A. Potthoff, John
     Wichlenski, Gerald Daniels, Dave Mattern, Gary Gerhardt,
     Steve Landmann, John Bartelt, Andy Sipka, Terry Lyles, Ron
     Davis, Mike Donnelly, Dan Fisher, Al Kaste, and David Walsh.

(Doc. 181, Ex. A at 9.)
     DRS     argues that this request does not identify any specific
documents that are relevant or admissible.           DRS argues that this request
is overly vague and could require production of almost any document ever
generated or received by the listed individuals.             (Doc. 182 at 21.)


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      In their response, the defendants assert that the request seeks
documents relating to the individuals’ employment responsibilities and
is not unlimited in its scope.            (Doc. 188 at 19.)           Yet, the defendants
do not specify exactly what information these documents might contain,
or what kind of documents they are seeking.                 See Morris, 287 F.3d at 991
(finding district court properly quashed subpoena where defendant was
unable to specify what the items requested would contain); see Jackson,
155 F.R.D. at 668 (“Without detailed information on the requested
documents, the court is only left to speculate as to the specific nature
of their contents and its relevance.”).               The request is broadly worded,
fails to identify any of the documents by name, and resembles a general
discovery request or fishing expedition.               See United States v. Hang, 75
F.3d 1275, 1283-84 (8th Cir. 1996) (finding district court properly
refused to authorize a broadly worded subpoena that could not identify
by name the documents desired).             Looking to Morris, Jackson, and Hang,
the defendants have failed to show Request 13 satisfies the Nixon
requirements.
      The motion to quash Request 13 is granted.
      The defendants have recently filed supplemental memoranda arguing
that by voluntarily producing some of the materials requested by the
subpoena,    DRS    has    waived   its   right    to assert      the     attorney-client
privilege     and   work    product   protection       to    producing     other   related
materials.      The   defendants      also    argue    that     DRS    should   provide   a
privilege log which describes the documents for which it is asserting
privilege and protection from disclosure.
      This argument is without merit, because, even though DRS has
voluntarily produced materials to the defendants, it can be compelled
involuntarily to satisfy the requests in the Rule 17(c) subpoena only
if   the   subpoena's      descriptions       of   materials      sought     satisfy   the
specificity    and relevance        requirements       of United States         v. Nixon.
Generally, as set forth above, the subpoena does not satisfy the Nixon
requirements.


                                      CONCLUSION
      For the reasons stated above,


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     IT IS HEREBY ORDERED that the motions of non-parties Thompson
Coburn LLP (Doc. 179), and Pricewaterhouse Coopers LLP (Doc. 183) to
quash defendants’ Rule 17(c) subpoenas are denied as moot.
     IT   IS   FURTHER    ORDERED   that      the   motion     of   non-party    DRS
Technologies, Inc. (Doc. 181) to quash defendants’ Rule 17(c) subpoenas
is sustained, except as to Request 8.        Not later than June 26, 2008, DRS
Technologies shall produce copies of ESSI’s Form 10-Ks, Form 10-Qs, and
Proxy Statements from January 1, 1996, to August 31, 2006.
     The parties may have ten days in which to file written objections
to this Memorandum and Order.           The failure to file timely written
objections will waive the right to appeal issues of fact.




                                       /S/   David D. Noce
                                    UNITED STATES MAGISTRATE JUDGE


Signed on June 17, 2008.




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